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  Jeff Carruth (TX SBN:. 24001846)                 Christopher M. Lee
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  ATTORNEYS FOR
  ANSON FINANCIAL INC.
  DEBTOR AND DEBTOR IN POSSESSION

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


  IN RE:                                          §
                                                  §
  ANSON FINANCIAL, INC.,                          §                CASE NO. 21-41517
                                                  §
         DEBTOR.                                  §

        FIRST AMENDED OBJECTION TO PROOFS OF CLAIM NUMBER NOS.
        8, 9, AND 10 FILED BY SIMONA BARRON ON AUGUST 13, 2021

 NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS
 FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
 THE ELDON B. MAHON U.S. COURTHOUSE, 501 W. 10TH ST., FORT WORTH, TX
 76102-3643. BEFORE CLOSE OF BUSINESS ON MAY 6 2022, WHICH IS AT LEAST 30
 DAYS FROM THE DATE OF SERVICE HEREOF.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
 COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
 THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A HEARING
 MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
 RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
 MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
 ACTION MAY BE TAKEN.

 TO THE HONORABLE EDWARD L. MORRIS, U.S. BANKRUPTCY JUDGE:

        Anson Financial, Inc. debtor and debtor in possession, (“Anson” or the “Debtor”), files this

 First Amended Objection to the Proofs of Claim Nos. 8, 9, and 10 filed on August 13, 2021 by
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 Simona Barron (“Barron” or “Respondent”) and would respectfully show to the Court the

 following.

         EXPLANATION OF AMENDMENT FOLLOWING “NOTICE OF DEATH”

         1.       This objection is amended and further service and notice are provided in light of

 the Notice of Death (Docket No. 258) filed herein by Joyce Lindauer, and additional service of

 this Objection is provided to the name(s) and/or addresses(s) provided in such Notice of Death, as

 well as to the claimant's former and/or apparent attorney, Ms. Lindauer.1 Although the Debtor

 believes that notice was sufficient under the circumstances, in an abundance of caution the Debtor

 is providing additional notice of this claim objection to the parties listed in the Notice of Death.

                                               BACKGROUND

         2.       On June 25, 2021, the Debtor filed a voluntary petition for relief under Chapter 11

 of Title 11 of the Bankruptcy Code, 11 U.S.C. §§ 101 et seq (the “Code”). The Debtor continues

 to remain as the debtor-in-possession.

         3.       On August 13, 2021, Barron filed three proofs of claim against the Debtor. These

 claims consisted of the following:

                  a. Proof of claim 8 in the amount of $38,000;
                  b. Proof of claim 9 in the amount of $418,000; and
                  c. Proof of claim 10 in the amount of $42,000.

         4.       None of these proofs of claim provides any supporting documentation.

                                           LEGAL AUTHORITY

         5.       Pursuant to Bankruptcy Rule 3001(b), proof of claims shall be executed by the

 creditor or the creditor’s authorized agent except filing of claims by the Debtor or Trustee. See




 1
   According to PACER, Ms. Lindauer has represented the claimant in Case No. 16-44816, as well as representing
 Joseph Yammine, the brother of the claimant and decedent, in this case as well as the Yammine adversary proceeding.
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 Fed. R. Bankr. P. 3001. properly filed proof of claim carries with it the presumption of validity.

 11 U.S.C. § 502; Fed. R. Bankr. P. 3001(f). However, the presumption of a prima facie valid claim

 is not automatic for facially defective claims — the claim must be sufficiently detailed and

 substantial to allow it to be considered a prima facie evidence of its validity. In re Armstrong, 320

 B.R. 97, 103-04 (Bankr.N.D.Tex. 2005).

        6.      If a party objects to the proof of claim, the objection becomes a contested matter

 under Fed. R. Bankr. P. 9014. The objecting party need only rebut the initial presumption of

 validity to disallow the claim. Armstrong, 320 B.R. at 103-04. The ultimate burden to prove the

 validity of the claim then re-vests upon the creditor. Id.

        7.      Pursuant to Bankruptcy Rule 3001(c), the creditor is required to attach supporting

 information to their claim. Fed. R. Bankr. P. 3001(c).

                                     OBJECTION TO CLAIM

        8.      Each of Barron’s claims should be disallowed pursuant to Code § 502(b) on at least

 the following grounds.

                a.      Claim 8 filed by Barron states “overpayment” as the basis for the claim and
                        provides no other details. The claim doesn’t state what the “overpayment”
                        is, what “real estate” property the overpayment is for or attach any
                        documentation showing ownership to such claim such as the deed, loan
                        documents, pay history, or anything else in support of the claim.

                b.      Claim 9 filed by Barron states “No Release of Lien” as the basis for the
                        claim and provides no details about what real estate property the claim is
                        regarding, or attach any documentation showing any documentation, loan
                        documents, pay history, or anything else in support of the claim.

                c.      Claim 10 filed by Barron states “Claim for Money owed” as the basis for
                        the claim and again provides no details regarding what real estate property
                        money is owed on or attaches any documentation showing ownership such
                        as Deed of Trust, pay histories, loan documents, or judgments.
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        9.      The proof of claims Barron filed each are clearly erroneous and should be

 disallowed.

        10.     Further, the Debtor has no business relationship with Barron and cannot determine

 what claim Barron is trying to assert against it or to what matters Barron refers.

        11.     Debtor reserves the right to amend, supplement, and/or re-file this Objection in the

 event that the Respondent amends and/or supplements any proof of claim.

        12.     A proposed form of order sustaining this claim objection accompanies this

 objection and is incorporated by reference herein.

        WHEREFORE, Debtor respectfully requests that the Court disallow each of Proof of Claim

 Nos. 8, 9, and 10, in the entirety of each. Debtor requests such other and further relief to which

 Debtor is entitled at law or in equity.


  Dated: April 6, 2022                     Respectfully submitted:

                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                           By:       /s/ Jeff Carruth
                                                 JEFF CARRUTH (TX SBN:. 24001846)
                                                 3030 Matlock Rd., Suite 201
                                                 Arlington, Texas 76105
                                                 Telephone: (713) 341158
                                                 Fax: (866) 666-5322
                                                 E-mail: jcarruth@wkpz.com

                                           ATTORNEY FOR
                                           ANSON FINANCIAL, INC.
                                           DEBTOR AND DEBTOR IN POSSESSION
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                                       CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing was served
 on April 6, 2022 (1) by electronic notice to all ECF users who have appeared in this case to date,
 as set forth below and (2) by regular mail to the addresses identified on the applicable claims as
 shown below.


  ADDRESS ON PROOF OF CLAIM
  Simone Barron
  PO Box 11781
  Fort Worth, TX 76110

  ADDRESS ON NOTICE OF DEATH
  Johnny Mateo Barron
  3718 Tulsa Way
  Fort Worth, Texas 76107

  COUNSEL FOR CLAIMANT
  Joyce W. Lindauer Attorney, PLLC
  1412 Main St., Suite 500
  Dallas, Texas 75202

  ALSO DIRECT EMAIL SERVICE TO: skyprop9@gmail.com

                                                           /s/ Jeff Carruth
                                                           Jeff Carruth


 21-41517-elm11 Notice will be electronically mailed to:



 Jeffery D. Carruth on behalf of Debtor Anson              jcarruth@aol.com;atty_carruth@trustesolutions.com;
 Financial, Inc.                                           carruthjr87698@notify.bestcase.com
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;        Jeffery D. Carruth on behalf of Plaintiff Anson
 carruthjr87698@notify.bestcase.com                        Financial, Inc.
                                                           jcarruth@wkpz.com,
 Jeffery D. Carruth on behalf of Defendant Anson           jcarruth@aol.com;atty_carruth@trustesolutions.com;
 Financial, Inc.                                           carruthjr87698@notify.bestcase.com
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;        Jeffery D. Carruth on behalf of Plaintiff J. Michael
 carruthjr87698@notify.bestcase.com                        Ferguson P.C.
                                                           jcarruth@wkpz.com,
 Jeffery D. Carruth on behalf of Plaintiff AFI Loan        jcarruth@aol.com;atty_carruth@trustesolutions.com;
 Servicing, LLC                                            carruthjr87698@notify.bestcase.com
 jcarruth@wkpz.com,
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 Jeffery D. Carruth on behalf of Plaintiff MBH Real
 Estate, LLC                                            Kathryn Hernandez on behalf of Defendant Anson
 jcarruth@wkpz.com,                                     Financial, Inc.
 jcarruth@aol.com;atty_carruth@trustesolutions.com;     k.magan@maganlawpllc.com
 carruthjr87698@notify.bestcase.com
                                                        Kathryn Hernandez on behalf of Interested Party Joe
 Alonzo Zachary Casas on behalf of Creditor             Michael Ferguson
 JPMORGAN CHASE BANK, N.A.                              k.magan@maganlawpllc.com
 ecftxnb@aldridgepite.com,
 acasas@ecf.inforuptcy.com                              Kathryn Hernandez on behalf of Plaintiff AFI Loan
                                                        Servicing, LLC
 Amanda Allison Catlin on behalf of Creditor Sterling   k.magan@maganlawpllc.com
 Bates
 Amanda.Catlin@fnf.com                                  Kathryn Hernandez on behalf of Plaintiff Anson
                                                        Financial, Inc.
 Lawrence Chek on behalf of Creditor Wells Fargo        k.magan@maganlawpllc.com
 Bank, National Association
 lchek@pamlaw.com, mislas@pamlaw.com                    Kathryn Hernandez on behalf of Plaintiff J. Michael
                                                        Ferguson P.C.
 Eboney D. Cobb on behalf of Creditor City of           k.magan@maganlawpllc.com
 Colleyville
 ecobb@pbfcm.com,                                       Kathryn Hernandez on behalf of Plaintiff MBH Real
 ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com               Estate, LLC
                                                        k.magan@maganlawpllc.com
 Eboney D. Cobb on behalf of Creditor Grapevine-
 Colleyville ISD                                        Areya Holder Aurzada (SBRA V)
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 Firm PLLC                                              Financial, Inc.
 ian@ghristlaw.com,                                     craig@lesoklaw.com
 christian@ghristlaw.com;idghrist@gmail.com;sarah
 @ghristlaw.com                                         Joyce W. Lindauer on behalf of Creditor Joseph I
                                                        Yammine
 Ian D. Ghrist on behalf of Defendant Ian Ghrist        joyce@joycelindauer.com,
 ian@ghristlaw.com,                                     dian@joycelindauer.com;deann@joycelindauer.com;
 christian@ghristlaw.com;idghrist@gmail.com;sarah       12113@notices.nextchapterbk.com
 @ghristlaw.com
                                                        Mark Joseph Petrocchi on behalf of Creditor Leroy J.
 Kathryn Hernandez on behalf of Debtor Anson            York Family Limited Partnership
 Financial, Inc.                                        mpetrocchi@lawgjm.com,
 k.magan@maganlawpllc.com                               mkidd@lawgjm.com;mpetrocchi@yahoo.com
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 Laurie A. Spindler on behalf of Creditor Tarrant      Lyndel Anne Vargas on behalf of Creditor Brian
 County                                                Frazier
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                                                       ourtdrive.com
 Matthew Tillma on behalf of Creditor JPMorgan
 Chase Bank, N.A. s/b/m/t Chase Bank USA, N.A.         Lyndel Anne Vargas on behalf of Plaintiff B. Frazier
 Matthew.Tillma@BonialPC.com,                          Management, Inc.
 Notices.Bonial@ecf.courtdrive.com                     LVargas@chfirm.com,
                                                       chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
 United States Trustee                                 ourtdrive.com
 ustpregion06.da.ecf@usdoj.gov
                                                       Lyndel Anne Vargas on behalf of Plaintiff Brian H.
 Lyndel Anne Vargas on behalf of Creditor B. Frazier   Frazier
 Management, Inc.                                      LVargas@chfirm.com,
 LVargas@chfirm.com,                                   chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
 chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c     ourtdrive.com
 ourtdrive.com
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                             REGULAR MAIL LIST / MATRIX




                                                                         2123057.DOCXs [4]
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                                                                         2123057.DOCXs [4]
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


   IN RE:                                          §
                                                   §
   ANSON FINANCIAL, INC.,                          §              CASE NO. 21-41517
                                                   §
          DEBTOR.                                  §

        ORDER DISALLOWING PROOF OF CLAIM NOS. 8, 9, AND 10 FILED BY
        SIMONA BARRON ON AUGUST 13, 2021 (RE: DOCKET NO. ___)

        On this day came on for consideration First Amended Objection to Proofs of Claim Number

 8, 9, and 10 Filed By Simona Barron on August 13, 2021. The Court finds and concludes that the

 Objection contained the appropriate notices under the Bankruptcy Local Rules; according to the

 certificate of service attached to the Objection, the Objection was served upon the parties entitled

 to receive notice under the Bankruptcy Local Rules; no party in interest filed a response to the

 Objection or any such response or objection is overruled by this Order; and that upon review of

 the record of this case and with respect to the Objection that cause exists to grant the relief

 requested therein.



 ORDER DISALLOWING PROOF OF CLAIM 8, 9, AND 10 FILED BY SIMONA BARRON
 ON AUGUST 13, 2021 (RE: DOCKET NO. ___) — Page 1                                          2123057.DOCX
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        IT IS THEREFORE ORDERED THAT Proof of Claim Nos. 8, 9, and 10 filed by
 Simone Barron on August 13, 2021 each is disallowed in its entirety and deemed to be expunged
 from the claims register of this case.

                                  ### END OF ORDER ###




 ORDER DISALLOWING PROOF OF CLAIM 8, 9, AND 10 FILED BY SIMONA BARRON
 ON AUGUST 13, 2021 (RE: DOCKET NO. ___) — Page 1                                   2123057.DOCX
